      Case 4:22-cv-01447 Document 9 Filed on 05/23/22 in TXSD Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                                May 23, 2022
                             SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


ALAN NELSON CROTTS,                            §
                                               §
        Plaintiff,                             §
                                               §
VS.                                            §   CIVIL ACTION NO. 4:22-CV-01447
                                               §
FREEDOM MORTGAGE CORPORATION,                  §
                                               §
        Defendant.                             §
                                               §

                                           ORDER

       Pending before the Court is the plaintiff’s motion to filed documents electronically (Dkt.

No. 5). The motion is Denied.

       It is so ORDERED.

       SIGNED on May 23, 2022, at Houston, Texas.


                                                    _________________________________
                                                    Kenneth M. Hoyt
                                                    United States District Judge




1/1
